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      June 13, 2025

      VIA ECF
      The Honorable Lewis J. Liman
      United States District Court for the Southern District of New York
      Daniel Patrick Moynihan United States Courthouse
      500 Pearl St., Room 1620
      New York, NY 10007

      Re:      Lively v. Wayfarer Studios LLC, et al., No. 1:24-cv-10049-LJL

      Dear Judge Liman:

              On behalf of Blake Lively, we write pursuant to Rule 4.b of Attachment A to Your Honor’s
      Individual Rules to respectfully request that the Court preliminarily seal Exhibit A to Ms. Lively’s
      Motion for a Protective Order, filed contemporaneously herewith. Exhibit A is the Wayfarer
      Parties’ First Request for Production of Documents and Things to Lively, which the Wayfarer
      Parties designated as confidential. In accordance with Rule 4.b of Attachment A, Ms. Lively
      respectfully requests that the Court not rule on this letter-motion to seal for one week, so that the
      parties have the opportunity to meet and confer, and the Wayfarer Parties may file a motion
                                                                     Respectfully submitted,

                                                                     /s/ Esra A. Hudson

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